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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SUNIL BHATIA, derivatively on behalf of
 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,                                              Case No. 1:18-cv-02387

                        Plaintiff,                  Honorable Judge Dow

 v.                                                 Honorable
                                                    Magistrate Judge Jantz
 RAJU VASWANI, an individual,
 KARAN VASWANI, an individual,
 ASSIVO, INC. (f/k/a MV OUTSOURCING,                JURY TRIAL DEMANDED
 INC.), an Illinois Corporation,

                        Defendants,

 and

 MEDVALUE OFFSHORE SOLUTIONS,
 INC.,

                        Nominal Defendant


                                     JOINT STATUS REPORT
         Sunil Bhatia (herein “Plaintiff”), by his attorneys, Regas, Frezados & Dallas LLP, Raju

Vaswani (herein “Raju”), by his attorneys, Huck Bouma PC, and Karan Vaswani (herein “Karan”)

and Assivo, Inc. (herein “Assivo”), by their attorneys Rathje Woodward LLC, for their Joint Status

Report, state as follows:

         On October 7, 2020, the Court entered an order providing for a discovery schedule. (Doc.

#: 205). The Court ordered Plaintiff to supplement his response to Defendants’ trade secret

interrogatories by October 21, 2020, and Plaintiff has supplemented this response. The parties

subsequently conferred, and Plaintiff agreed to further amend his supplemental response to

Defendants’ trade secret interrogatories, which Plaintiff did on December 18, 2020.   Defendants


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contend that Plaintiff has still not produced a list of MedValue’s alleged trade secrets and the

factual basis that can qualify such information as trade secrets. Defendants wish to meet and confer

with Plaintiff one more time before renewing their objection to Plaintiff’s response to the trade

secret interrogatories.

       The Court further ordered the parties to respond to all previously served written discovery

by November 23, 2020. Plaintiff has responded to Defendant, Raju Vaswani’s, First Set of

Requests for Admission, and Defendants have responded to Plaintiff’s First Request for Production

of Documents to Defendant Raju Vaswani, Plaintiff’s First Request for Production of Documents

to Defendant Karan Vaswani and Plaintiff’s First Set of Interrogatories to Defendant Assivo, Inc.

Defendants have asserted objections to Plaintiff’s discovery requests, and Plaintiff has asserted

objections to Defendant Assivo’s discovery requests, and to Defendant Raju’s Requests for

Admission, and has not produced documents to support his denials of those Requests for

Admission. The parties expect to schedule a meet and confer, in compliance with Fed. R. Civ. P.

37, to resolve these differences.    If the parties cannot reach an agreement regarding these

objections, the parties anticipate filing motions under Rule 37.

       The Court also ordered the parties to issue additional discovery requests by December 7,

2020, with answers due by January 6, 2021. The parties have issued additional discovery.

Plaintiff/Counter-Defendant and Third-Party Defendant have issued three sets of interrogatories,

three sets of production requests and two sets of requests to admit to Defendants/Counter-Plaintiff

and Third-Party Plaintiff. Defendants/Counter-Plaintiff and Third-Party Plaintiff have issued four

sets of interrogatories, three sets of production requests and three sets of requests to admit to

Plaintiff/Counter-Defendant and Third-Party Defendant. The parties have agreed that responses

to those outstanding requests will be due January 14, 2021. In the event that the parties require



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additional time to respond to outstanding requests, they will attempt to agree or will petition the

Court accordingly. Plaintiff has also issued subpoenas to Google, LLC and New Jupiter Media,

Inc. Google has responded and raised objections to the subpoena, as has counsel for Defendants

Karan Vaswani and Assivo, Inc. Plaintiff will attempt to schedule a meet and confer with the

appropriate parties, in compliance with Fed. R. Civ. P. 37, to resolve these differences. If the

parties cannot reach an agreement regarding these objections, Plaintiff anticipates filing a motion

under Rule 37.

       In addition to discovery, there are six dispositive motions that the parties are currently

briefing or that are pending ruling by this Court. The dispositive motions pending before this

Court, and the briefing schedules where applicable, are as follows:

       A. Raju’s Motion to Dismiss Counts V, VI, VII and VIII of Plaintiff’s Second Amended

           Complaint (Dkt. No. 159). This Motion has been fully briefed and is awaiting ruling

           by this Court.

       B. Varsha’s Motion to Dismiss the First Amended Third-Party Complaint (Dkt. No. 157).

           This Motion has been fully briefed and is awaiting ruling by this Court.

       C. Karan and Assivo’s Motion for Judgment on the Pleadings Pursuant to F.R.C.P. 12(c)

           and Motion to Dismiss Pursuant to F.R.C.P. 12(b)(1) (Dkt. No. 219). Plaintiff’s

           response is due on December 21, 2020. Karan and Assivo’s reply is due on January

           18, 2021.

       D. Raju’s Motion for Judgment on the Pleadings Pursuant to F.R.C.P. 12(c) and Motion

           to Dismiss Pursuant to F.R.C.P. 12(b)(1) (Dkt. No. 221). Plaintiff’s response is due on

           December 21, 2020. Raju’s reply is due on January 18, 2021.




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       E. Assivo’s Motion to Dismiss Derivative Counts of Second Amended Complaint

           Pursuant to F.R.C.P. 23.1 (Dkt. No. 229). Plaintiff’s response is due on January 19,

           2021. Assivo’s reply is due on February 9, 2021.

       F. Raju has been granted leave to revise his Motion for Partial Summary Judgment and is

           expected to file his Amended Motion for Partial Summary Judgment, Amended

           Statement of Material Facts in Support of His Amended Motion for Partial Summary

           Judgment, and Amended Memorandum of Law in Support of His Amended Motion for

           Partial Summary Judgment on February 1, 2021 (Dkt. No. 227).

       Additionally, Raju has provided Plaintiff with his Amended Statement of Material Facts

so as to provide Plaintiff the opportunity to dispute any material facts or for Plaintiff to identify

which material facts it seeks to dispute. Plaintiff has not responded.

       The Court’s order further directed the parties to propose a schedule and plan for going

forward. In light of the outstanding issues with respect to responses to previously issued discovery

and the large amount of pending written discovery, the parties propose that the Court schedule a

date for the parties to submit a further joint status report, as the parties will be better prepared to

propose deadlines for further stages of discovery after they have had additional time to address

these matters. The parties suggest January 29, 2021 as the deadline to submit this report.

       Finally, the Court’s order directs the parties to indicate whether the parties believe that a

settlement conference with the Court would be productive at some point in time. The parties do

not believe that a settlement conference will be productive at this time.




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Respectfully submitted,

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